      Case: 1:09-cv-07973 Document #: 1 Filed: 12/23/09 Page 1 of 6 PageID #:1




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

Elnora Rivers,                      )
                                    )
        Plaintiff,                  )
                                    )
        v.                          )              No. 09 C 7973
                                    )
AllianceOne Receivables Management, )
Inc., a Delaware corporation,       )
                                    )
        Defendant.                  )              Jury Demanded

                                        COMPLAINT

       Plaintiff, Elnora Rivers, brings this action under the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant’s debt collection

actions violated the FDCPA, and to recover damages for that violation, and alleges:

                               JURISDICTION AND VENUE

       1.     This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

       2.     Venue is proper in this District because: a) part of the acts and

transactions occurred here; and, b) Defendant resides and transacts business here.

                                          PARTIES

       3.     Plaintiff, Elnora Rivers ("Rivers"), is a citizen of the State of Florida, from

whom Defendant attempted to collect a delinquent consumer debt, owed for a Capital

One Bank credit card, despite the fact that she was represented by the legal aid

attorneys at the Chicago Legal Clinic's Legal Advocates for Seniors and People with

Disabilities program ("LASPD"), located in Chicago, Illinois.
      Case: 1:09-cv-07973 Document #: 1 Filed: 12/23/09 Page 2 of 6 PageID #:2




       4.     Defendant, AllianceOne Receivables Management, Inc. (“AllianceOne"), is

a Delaware corporation, that acts as a debt collector, as defined by § 1692a of the

FDCPA, because it regularly uses the mails and/or the telephone to collect, or attempt

to collect, delinquent consumer debts. In fact, AllianceOne was acting as a debt

collector as to the delinquent consumer debt it attempted to collect from Ms. Rivers.

       5.     From Defendant AllianceOne's offices in Illinois, and sixteen other states,

it operates a nationwide debt collection business, and attempts to collect delinquent

debts from consumers in virtually every state, including consumers in the State of

Illinois. See, AllianceOne’s web-site materials, attached as Group Exhibit A.

       6.     Defendant AllianceOne is licensed as a debt collection agency in the State

of Illinois. See, record from the Illinois Division of Professional Regulation, attached as

Exhibit B.

       7.     Moreover, Defendant AllianceOne is licensed to do business in the State

of Illinois, and maintains a registered agent within the State of Illinois. See, record from

the Illinois Secretary of State, a copy of which is attached as Exhibit C.

                               FACTUAL ALLEGATIONS

       8.     Ms. Rivers is a senior citizen who fell behind in paying her bills. One such

debt she was unable to pay was a debt she owed to Capital One for a credit card. This

debt became delinquent, and eventually, Defendant AllianceOne began collection

actions relative to that debt. Accordingly, Ms. Rivers sought the assistance of the legal

aid attorneys at the Chicago Legal Clinic’s Legal Advocates for Seniors and People with

Disabilities program -- a nationwide program to protect seniors and disabled persons in




                                             2
      Case: 1:09-cv-07973 Document #: 1 Filed: 12/23/09 Page 3 of 6 PageID #:3




financial difficulties, where those persons have virtually no assets, and their limited

income is protected from collections.

       9.      On March 31, 2009, an attorney at LASPD wrote a letter to Defendant

AllianceOne, advising AllianceOne that Ms. Rivers was represented by counsel, and

directing AllianceOne to cease contacting Ms. Rivers, and to cease all further collection

activities, because Ms. Rivers was forced, by her financial circumstances, to refuse to

pay her unsecured debt. A copy of this letter and the fax confirmation are attached as

Exhibit D.

       10.     Nonetheless, Defendant AllianceOne sent a collection letter, dated April

30, 2009, directly to Ms. Rivers, demanding payment of the Capital One debt. A copy of

this letter is attached as Exhibit E.

       11.     Accordingly, on June 14, 2009, Ms. Rivers’ LASPD attorney had to send

Defendant AllianceOne yet another letter, directing it to cease communicating with Ms.

Rivers. A copy of this letter and the fax confirmation are attached as Exhibit F.

       12.     Due to Defendant’s above violations of the FDCPA, Ms. Rivers filed a

lawsuit against Defendant AllianceOne in a matter styled Elnora Rivers v. AllianceOne

Receivables Management, Inc., No. 09 C 3929 (N.D. Ill.).

       13.     Thereafter, the matter was settled between Ms. Rivers and Defendant

AllianceOne.

       14.     Nonetheless, despite knowing that Ms. Rivers was represented by

attorneys and that she refused to pay her debts, Defendant AllianceOne sent Ms. Rivers

a collection letter, dated November 5, 2009. A copy of this letter is attached as Exhibit

G.



                                             3
      Case: 1:09-cv-07973 Document #: 1 Filed: 12/23/09 Page 4 of 6 PageID #:4




      15.    All of the collection actions at issue occurred within one year of the date of

this Complaint.

      16.    Defendant’s collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).

                                      COUNT II
                      Violation Of § 1692c(c) Of The FDCPA --
             Failure To Cease Communications And Cease Collections

      17.    Plaintiff adopts and realleges ¶¶ 1-16.

      18.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).

      19.    Here, the letter from Ms. Rivers' agent, LASPD, told Defendant

AllianceOne to cease communications and to cease collections (Exhibit D). By

continuing to communicate regarding this debt and demanding payment, Defendant

AllianceOne violated § 1692c(c) of the FDCPA.

      20.    Defendant AllianceOne's violation of § 1692c(c) of the FDCPA renders it

liable for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.

                                   COUNT I
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      21.    Plaintiff adopts and realleges ¶¶ 1-16.




                                            4
      Case: 1:09-cv-07973 Document #: 1 Filed: 12/23/09 Page 5 of 6 PageID #:5




      22.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debt and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      23.    Defendant AllianceOne knew that Ms. Rivers was represented by counsel

in connection with her debts through the prior lawsuit that was filed against Defendant,

and because her attorneys at LASPD had informed Defendant, in writing, that she was

represented by counsel, and had directed Defendant to cease directly communicating

with Ms. Rivers (Exhibit D). By sending Ms. Rivers an additional collection letter, dated

November 5, 2009 (Exhibit G), despite being advised that she was represented by

counsel, Defendant AllianceOne violated § 1692c(a)(2) of the FDCPA.

      24.    Defendant AllianceOne’s violation of § 1692c(a)(2) of the FDCPA renders

it liable for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.

                                 PRAYER FOR RELIEF

      Plaintiff, Elnora Rivers, pray that this Court:

      1.     Find that Defendant AllianceOne's debt collection practices violated the

FDCPA;

      2.     Enter judgment in favor of Plaintiff Rivers, and against Defendant

AllianceOne, for statutory damages, costs, and reasonable attorneys’ fees, as provided

for by § 1692k(a) of the FDCPA; and,

      3.     Grant such further relief as deemed just.




                                             5
      Case: 1:09-cv-07973 Document #: 1 Filed: 12/23/09 Page 6 of 6 PageID #:6




                                      JURY DEMAND

       Plaintiff, Elnora Rivers, demands trial by jury.

                                                     Elnora Rivers,

                                                     By: /s/ David J. Philipps__________
                                                     One of Plaintiff's Attorneys

Dated: December 23, 2009

David J. Philipps      (Ill. Bar No. 06196285)
Mary E. Philipps       (Ill. Bar No. 06197113)
Philipps & Philipps, Ltd.
9760 S. Roberts Road, Suite One
Palos Hills, Illinois 60465
(708) 974-2900
(708) 974-2907 (FAX)
davephilipps@aol.com
mephilipps@aol.com




                                                 6
